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 1                                                            The Honorable Robert J. Bryan
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 7
                                  UNITED STATES DISTRICT COURT
 8                               WESTERN DISTRICT OF WASHINGTON
                                      TACOMA, WASHINGTON
 9

10   UNITED STATES OF AMERICA,                      )   Case No.: CR18-5579 RJB
                                                    )
11                  Plaintiff,                      )
                                                    )   DEFENDANT KAREN SURYAN'S
12          vs.                                     )   STIPULATED MOTION FOR EARLY
                                                    )   TERMINATION OF SUPERVISED
13   KAREN SURYAN,                                  )   RELEASE
                                                    )
14                  Defendant.                      )
                                                    )
15                                                  )
                                                    )
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17                                        I.      MOTION
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            COMES NOW, KAREN SURYAN, by and through her attorney, Jennifer Horwitz
19
     and moves this Court for early termination of supervision on this case. U.S. Probation
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     supports this motion, and the government does not oppose it.
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22                           II.     PROCEDURAL HISTORY OF CASE

23          This case was assigned to Judge Leighton while it was pending. Ms. Suryan was
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     initially indicted, along with several co-defendants, on November 29, 2018, with Conspiracy
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     to Distribute Controlled Substances. A second superseding indictment was filed on March
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     7, 2019, and Ms. Suryan pled guilty to the charge as set forth in 21 U.S.C. 841(b)(1)(B) on

28   June 11, 2019. Ms. Suryan was initially detained in the case after her arrest on December 6,


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                                                                       (206) 799-2797
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 1   2018, but was placed on bond with pretrial services supervision on December 17, 2018. Ms.
 2
     Suryan did have some difficulty complying with the terms of her bond and some
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     amendments to the bond were entered while her case was pending, including a directive to
 4

 5   obtain a substance abuse evaluation and engage in inpatient treatment if recommended. Ms.

 6   Suryan was recommended to participate in inpatient substance abuse treatment, and on July
 7
     30, 2019, Ms. Suryan began inpatient at Pioneer Center North in Sedro Wooley,
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     Washington. She successfully completed treatment on August 26, 2019 and has been sober
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     since that time, although she still receives methadone treatment. All of her UA tests have
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11   been drug free and corroborate her report that she has remained sober.

12           Ms. Suryan was eligible for a safety valve adjustment because of her limited criminal
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     history, although she unfortunately was not eligible for DREAM court. Ms. Suryan was
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     sentenced on September 6, 2019 to credit for time served and a three-year term of
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     supervised release. While on supervision she was ordered to complete a Moral Recognition
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17   Therapy ("MRT") class. She started MRT classes and then the classes were terminated

18   when COVID-19 caused closures and lockdowns.
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                                III.    DECLARATION OF COUNSEL
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             I, Jennifer Horwitz, declare under the laws of the United States and the State of
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22
     Washington that the following is true and correct to the best of my knowledge:

23           1.      I am Karen Suryan's counsel of record on this case. I was reappointed to her
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     case under the Criminal Justice Act on November 15, 2021. I am over 18 years old and
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     competent to testify to the facts in this declaration.
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             2.      After Ms. Suryan contacted me and requested that I represent her on a motion
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28   for early termination of supervision, I reached out to Ms. Suryan's probation officer, Mi-



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 1   Young Park and asked how Ms. Suryan was doing and what U.S. Probation's position would
 2
     be on early termination of supervision. Ms. Park emailed me on November 2, 2021 and
 3
     wrote, "After careful review, our office supports an early termination for Ms. Suryan. She
 4

 5   has been violation free, in treatment, maintains housing, and she is on SSDI. You may

 6   include our office's position in your memo."
 7
            3.      Over a series of emails that concluded on December 1, 2021, I conferred with
 8
     AUSA Karyn Johnson about the issue of early termination of supervision for Ms. Suryan.
 9
     AUSA Johnson indicated to me that she had reached out to USPO Park and that, based on
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11   Ms. Suryan's successful compliance with all conditions of her supervised release, the

12   government would not oppose early termination of supervision. Ms. Johnson invited me to
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     share a draft of this motion with her before filing it so that, after her review and approval for
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     filing, I could file the motion as a stipulated motion. On November 30, 2021, I emailed a
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     draft of this motion to AUSA Karyn Johnson to review and invited her to make any
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17   suggested edits so that I could file the motion as a stipulated motion by the parties. Ms.

18   Johnson reviewed the draft, requested one change which has been made, and gave me
19
     approval to file the motion as stipulated.
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            I declare under penalty of perjury that the foregoing is true and correct, to the best of
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22
     my knowledge.

23          Signed this 1st day of December, 2021 in Seattle, Washington
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                                            ______________________________
26                                          Jennifer Horwitz
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                                         IV.   CONCLUSION
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            For the foregoing reasons, it is respectfully requested that supervision on this case
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 5   be terminated early by the Court.

 6
                                   Respectfully submitted this 1st day of December, 2021.
 7

 8
                                                  s/ Jennifer Horwitz
 9
                                                  Jennifer Horwitz WSBA#23695
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                                                  Law Office of Jennifer Horwitz, PLLC
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